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      In the United States Court of Federal Claims
                                No. 18-1880C
                            (Filed: July 12, 2019)

**************************

ORACLE AMERICA, INC.,

                     Plaintiff,

v.

THE UNITED STATES,

                     Defendant,

and

AMAZON WEB SERVICES, INC.,

                     Intervenor.

**************************

                                   ORDER

       Pending in this pre-award bid protest are the parties’ cross-motions
for judgment on the administrative record. The court held oral argument on
the parties’ cross-motions on July 10, 2019. Following argument, the court
indicated to the parties that we would issue an order stating our decision on
the motions with a supporting opinion to follow shortly thereafter. The court
now orders the following.

       Because the court finds that Gate Criteria 1.2 is enforceable, and
Oracle concedes that it could not meet that criteria at the time of proposal
submission, we conclude that it cannot demonstrate prejudice as a result of
other possible errors in the procurement process. We conclude as well that
the contracting officer’s findings that an organizational conflict of interest
does not exist and that individual conflicts of interest did not impact the
procurement were not arbitrary, capricious, an abuse of discretion, or
otherwise not in accordance with law. Plaintiff’s motion for judgment on the
administrative record is therefore denied. Defendant’s and intervenor’s
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respective cross-motions for judgment on the administrative record are
granted.

      Entry of final judgment is deferred pending the issuance of our
supporting opinion.


                                      s/Eric G. Bruggink
                                      ERIC G. BRUGGINK
                                      Senior Judge




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